287 F.2d 886
    Francis J. HILDERBRANDv.UNITED STATES of America.
    No. 6573.
    United States Court of Appeals Tenth Circuit.
    January 6, 1961.
    
      Appeal from the United States District Court for the District of Kansas.
      Dwight K. Shellman, Jr., Denver, Colo., for appellant.
      Wilbur G. Leonard, U. S. Atty., Topeka, Kan., for appellee.
      Before MURRAH, Chief Judge, and BRATTON and BREITENSTEIN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Affirmed without written opinion, for reasons stated in the trial court's opinion. D.C., 190 F.Supp. 283.
    
    